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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

COMMON CAUSE, CITY OF ATLANTA, CITY
OF DAYTON, CITY OF PATERSON, CITY OF
PORTLAND, CENTER FOR CIVIC POLICY,
MASA, NEW JERSEY CITIZEN ACTION, NEW
MEXICO ASIAN FAMILY CENTER, NM
COMUNIDADES EN ACCIÓN Y DE FE,
PARTNERSHIP FOR THE ADVANCEMENT OF
NEW AMERICANS, ROBERTO AGUIRRE,
SHEILA AGUIRRE, PAULA AGUIRRE, ANDREA
M. ALEXANDER, ANGELO ANCEHTA,
CYNTHIA DAI, SIMON FISCHER-BAUM, STAN
FORBES, CONNIE GALAMBOS MALLOY,
RAQUEL MORSY, DEBRA DE OLIVEIRA,                    No. 1:20-cv-02023-CRC
LILBERT ROY ONTAI, SARA PAVON, COLEEN
P. STEVENS PORCHER, JEANNE ELLEN RAYA,
JONATHAN ALLAN REISS, JOSANNA SMITH,
THAD SMITH, INGE SPUNGEN, IRENE
STERLING, DENNIS VROEGINDEWEY, SUSAN
N. WILSON, and MYRNA YOUNG,

              Plaintiffs,

       v.

DONALD J. TRUMP, in his official capacity as
President of the United States,

UNITED STATES DEPARTMENT OF
COMMERCE, and

WILBUR L. ROSS, JR., in his official capacity as
Secretary of Commerce,

BUREAU OF THE CENSUS, an agency within the
United States Department of Commerce,
4600 Silver Hill Road, Washington, DC 20233

and

STEVEN DILLINGHAM, in his official capacity as
Director of the Bureau of the Census,
4600 Silver Hill Road, Washington, DC 20233,

              Defendants.
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      MEMORANDUM IN SUPPORT OF PLAINTIFFS’ APPLICATION FOR THE
              APPOINTMENT OF A THREE-JUDGE COURT

               Plaintiffs respectfully request the appointment of a three-judge court in this action

challenging the Memorandum issued by President Donald J. Trump on July 21, 2020, titled

“Excluding Illegal Aliens from the Apportionment Base Following the 2020 Census” (the

“Memorandum”). Last week, on consent of all parties, the United States District Court for the

Southern District of New York requested a three-judge panel for two consolidated cases

asserting claims substantially similar to the ones asserted here. See New York v. Trump, 20-CV-

05770, ECF Nos. 68, 82–83 (S.D.N.Y. Aug. 7, 2020). Yesterday, that request was granted and a

three-judge panel was convened. For the reasons that follow and those set forth in that Order,

Plaintiffs’ claims in this case also require adjudication by a three-judge court.

                    MEMORANDUM OF POINTS AND AUTHORITIES

               This action is brought to enjoin and restrain Defendants from carrying out their

unlawful plan to exclude undocumented immigrants from the congressional apportionment base

for the first time in our history, as set forth in the Memorandum.

               The actions contemplated and ordered by the Memorandum are in clear violation

of the Constitution’s plain language, which states that “[r]epresentatives shall be apportioned

among the several states according to their respective numbers, counting the whole number of

persons in each state,” excluding only “Indians not taxed.” U.S. Const., amend. XIV, § 2

(emphasis added). They also violate 13 U.S.C. § 141, which requires the Department of

Commerce to “tabulat[e] the total population by States . . . as required for the apportionment of

Representatives in Congress,” and 2 U.S.C. § 2a(a), which requires the President to transmit to

Congress apportionment tables “showing the whole number of persons in each State.” Since the

nation’s founding, the three branches of government have agreed that “the whole number of



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persons in each state” includes non-citizens, whether documented or undocumented. See Am.

Compl. ¶¶ 71–91. Indeed, previous Departments of Justice under both parties, and a three-judge

panel of this very Court, have held that exclusion of undocumented immigrants from the

apportionment base would be plainly unconstitutional. See Am. Compl. ¶¶ 79–85, 90; Fed’n for

Am. Immigration Reform v. Klutznick, 486 F. Supp. 564, 576–77 (D.D.C.) (three-judge court),

appeal dismissed, 447 U.S. 916 (1980).

               Furthermore, because the Government has no mechanism for conducting an

actual, direct count of the undocumented population within the States—and indeed has been

prevented by the Supreme Court from inquiring about citizenship on the 2020 census, see Dep’t.

of Commerce v. New York, 139 S. Ct. 2551 (2019)—any implementation of the Memorandum

would violate Article I, § 2 of the Constitution, which requires all figures used in congressional

apportionment to be determined through “actual Enumeration.” Am. Compl. ¶ 115; see Utah v.

Evans, 536 U.S. 452, 477 (2002) (recognizing that “the Framers expected census enumerators to

seek to reach each individual household,” not to use substitute “statistical methods”). On

information and belief, the only way for Defendants to effectuate the Memorandum’s commands

would be through the use of statistical sampling. See Am. Compl. ¶¶ 6, 115–136. Therefore, in

addition to violating the Enumeration Clause, Defendants’ implementation of the Memorandum

would violate 13 U.S.C. § 195, which “directly prohibits the use of sampling in the

determination of population for purposes of [congressional] apportionment.” Dep’t of

Commerce v. U.S. House of Representatives, 525 U.S. 316, 338 (1999).

I.      A THREE-JUDGE COURT SHOULD BE CONVENED PURSUANT TO 28
        U.S.C. § 2284

               28 U.S.C. § 2284 provides that “[a] district court of three judges shall be

convened when otherwise required by Act of Congress, or when an action is filed challenging the



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constitutionality of the apportionment of congressional districts or the apportionment of any

statewide legislative body.” 28 U.S.C. § 2284(a). Plaintiffs invoke Section 2284 based on two

independent grounds.

       A.      A Three-Judge Court Should Be Convened to Adjudicate Plaintiffs’
               Claims Challenging the Constitutionality of the Memorandum

               As set forth above, the Memorandum purports to alter the way in which members

of Congress are apportioned across the several states, with the inevitable—and intended—result

that some states will lose representatives in Congress. Am. Compl. ¶ 140. Plaintiffs allege

(among other things) that this alteration of the congressional apportionment base violates Article

I, Section 2 of the U.S. Constitution, as amended by section 2 of the Fourteenth Amendment, as

well as the Equal Protection guarantees of the Fifth and Fourteenth Amendments. Am.

Complaint ¶¶ 176–93. These claims “challeng[e] the constitutionality of the apportionment of

congressional districts” within the meaning of 28 U.S.C. § 2284(a) and thus require adjudication

by a three-judge court.

               Courts hearing constitutional challenges to Executive Branch decisions that

impact congressional apportionment have routinely appointed three-judge panels. See, e.g.,

Franklin v. Massachusetts, 505 U.S. 788, 791 (1992) (reviewing decision of three-judge court

regarding challenge to practice of allocating overseas federal employees to their designated home

states); Utah v. Evans, 182 F. Supp. 2d 1165, 1167–68 (D. Utah 2001), aff’d, 536 U.S. 452

(2002) (three-judge panel convened to address claims that defendants violated statutory

provisions and the Constitution by refusing to count LDS missionaries serving missions abroad);

see also Adams v. Clinton, 26 F. Supp. 2d 156, 161 (D.D.C. 1998) (applying 28 U.S.C. § 2284(a)

to claims challenging District of Columbia’s “exclusion from apportionment”); Massachusetts v.




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Mosbacher, 785 F. Supp. 230, 234-38 (D. Mass. 1992) (three-judge court statute applies to

interstate apportionment of House seats).

               Indeed, as noted above, Judge Furman of the United States District Court for the

Southern District of New York has already concluded that claims similar to Plaintiffs’, based on

the Memorandum’s exclusion of “the whole number of persons in each State” from the

congressional apportionment base, should be heard by a three-judge court. See New York, 20-

CV-05770, ECF No. 68. After observing that the Memorandum would have a direct impact on

the calculation of the apportionment base, the New York court held that “[t]o the extent that

Plaintiffs challenge the constitutionality of the Presidential Memorandum, therefore, it would

seem that they are challenging the ‘constitutionality of the apportionment of congressional

districts’” within the meaning of 28 U.S.C. § 2284(a). Id. at 2.

       B.      A Three-Judge Court Is Required to Adjudicate Plaintiffs’ Claim
               Under 13 U.S.C. § 195

               Independently, the Amended Complaint alleges that the Memorandum’s

implementation will require the use of statistical sampling in violation of 13 U.S.C. § 195 and

the Constitution. Am. Compl. ¶¶ 203–10. Congress has expressly provided that any person

aggrieved by a plan to use any statistical method in connection with the decennial census may

bring a legal action to enjoin that use, and has required that any such action “be heard and

determined by a district court of three judges in accordance with [28 U.S.C. §] 2284.”

Departments of Commerce, Justice, and State, The Judiciary, and Related Agencies

Appropriations Act, Pub. L. No. 105-119, § 209(b), (e)(1), 111 Stat. 2440, 2481 (1997) (codified

at 13 U.S.C. § 141 note); see Dep’t of Commerce, 525 U.S. at 326–27. Accordingly, the

convening of a three-judge court is “otherwise required by Act of Congress” within the meaning

of 28 U.S.C. § 2284(a).



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               Although the statute is clear on its face, precedent also confirms that actions

challenging the use of statistical methods for the purpose of congressional apportionment require

review by three-judge courts. For example, in Dep’t of Commerce v. U.S. House of

Representatives, the Supreme Court consolidated two separate appeals, both from district courts

“[c]onvened as three-judge courts.” 525 U.S. at 320. The Court noted probable jurisdiction over

the appeals and subsequently affirmed the three-judge courts’ finding that the Census Act

prohibited the planned use of statistical sampling.

               As with the constitutional claims discussed previously, Judge Furman of the

Southern District of New York has concluded that a challenge to the Memorandum based on 13

U.S.C. § 195’s prohibition on statistical sampling required a three-judge court. See New York,

20-CV-05770, ECF No. 68 at 3. The same conclusion applies here.

II.    CONVENING A THREE-JUDGE COURT IS NECESSARY TO CONFER
       JURISDICTION OVER PLAINTIFFS’ CLAIMS

                When a case falls within Section 2284 and requires a three-judge district court, “a

single judge shall not . . . enter judgment on the merits” of any claim. 28 U.S.C. § 2284(b)(3);

see Shapiro v. McManus, 136 S. Ct. 450, 455 (2015). As the Supreme Court has held, “the word

‘shall’ is ordinarily the language of command,” Alabama v. Bozeman, 533 U.S. 146, 153 (2001),

an unambiguous word that “normally creates an obligation impervious to judicial discretion,”

Lexecon Inc. v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26, 35 (1998). If it is found

that the “the district court erroneously refused to convene a three-judge court,” any “subsequent

merits ruling by the appellate panel is void.” Igartua v. Obama, 842 F.3d 149, 152 (1st Cir.

2016); accord Kalson v. Paterson, 542 F.3d 281, 286 (2d Cir. 2008). Thus, if there were any

doubt based on the text of Section 2284—and, as discussed above, there is not—prudence and

judicial economy would favor convening a three-judge court over proceeding as a single-judge



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court. See New York, 20-CV-05770, ECF No. 68 at 2–3 (noting that this requirement is

jurisdictional and that as long as the court “cannot definitively conclude that ‘three judges are not

required,’” that is sufficient to request a three-judge court).

                Importantly, the Supreme Court has approved a procedure by which a three-judge

court, once convened, can ensure that its ruling will be valid, even if it is ultimately determined

that a three-judge court was not actually required. See Swift & Co. v. Wickham, 382 U.S. 111,

114 n.4 (1965). Under that procedure, the originally assigned District Judge can certify, out of

“abundant caution,” that “he [or she] individually arrived at the same conclusion that [the three-

judge court] collectively reached.” Fed’n for Am. Immigration Reform, 486 F. Supp. at 577–78

(three-judge court) (quoting Swift & Co. v. Wickham, 230 F. Supp. 398, 410 (S.D.N.Y. 1964)).

This procedure ensures that even if a three-judge court is convened “mistaken[ly],” its efforts

will not be wasted and “an appeal can still be expeditiously taken in the appropriate forum.” Id.

There is no equivalent procedure for a single-judge court to prevent its merits decision from

being voided if a higher tribunal concludes that a three-judge court was required.

        Accordingly, convening a three-judge court is both necessary and appropriate to ensure

the Court’s jurisdiction over this action.

                                             CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that this action be adjudicated by

a three-judge court.



DATED: August 11, 2020
                                                          /s/ Daniel S. Ruzumna
                                                  Daniel S. Ruzumna (D.C. Bar No. 450040)

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